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                    IN THE UNITED STATES COURT OF APPEALS
                    FOR THE DISTRICT OF COLUMBIA CIRCUIT

                                                   )
STATE OF OHIO, et al.                              )
                                                   )
                      Petitioners,                 )      No. 22-1081 (and consolidated
                                                   )      cases)
v.                                                 )
                                                   )
ENVIRONMENTAL PROTECTION AGENCY,                   )
et al.,                                            )
                                                   )
                      Respondents.                 )
                                                   )

          NOTICE OF WITHDRAWAL OF DAVID S. FRANKEL AS COUNSEL
     FOR RESPONDENT-INTERVENOR COMMONWEALTH OF MASSACHUSETTS

       Notice is hereby given that Respondent-Intervenor the Commonwealth of Massachusetts

respectfully withdraws David S. Frankel as counsel in the above-captioned matter and

consolidated cases. The Commonwealth will continue to be represented by all other counsel of

record at the Massachusetts Attorney General’s Office.
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                                     Respectfully submitted,

                                     THE COMMONWEALTH OF
                                     MASSACHUSETTS

                                     By its attorney:

                                     MAURA HEALEY

                                     /s/ David S. Frankel
                                     David S. Frankel
                                     Special Assistant Attorney General
                                     Environmental Protection Division
                                     Office of the Massachusetts Attorney General
                                     One Ashburton Place, 18th Floor
                                     Boston, MA 02108
                                     (617) 963-2294
Dated: July 12, 2022                 david.frankel@mass.gov




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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 12th day of July, 2022, the foregoing Notice of Withdrawal of

Counsel was filed with the Clerk of the Court and served on the counsel of record for all parties

through the CM/ECF system.

                                                            /s/ David S. Frankel
                                                            David S. Frankel




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